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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                   8:14CR324

       vs.                                            FINAL ORDER OF FORFEITURE

FERNANDO NEVAREZ-CARREON and
FAUSTINO SUASTEGUI-VILLALVA,

                      Defendants.



       This matter comes on before the Court upon the United States= Motion for Final

Order of Forfeiture (Filing No. 91). The Court has reviewed the record in this case and,

being duly advised in the premises, finds as follows:

       1. On July 7, 2015, the Court entered a Preliminary Order of Forfeiture (Filing No.

81) pursuant to the provisions of Title 21, United States Code, Sections 853, based upon

the Defendants’ plea of guilty to Count I, II, III, VI, VII, and the Forfeiture Allegation of the

Superseding Indictment filed herein. By way of said Preliminary Order of Forfeiture, the

Defendants’ interest in the following properties were forfeited to the United States:

       a.     Alienware computer processing unit (desktop), SN 6360581341

       b.     i-Phone cell phone

       c.     Samsung cell phone (Galaxy III smart phone)

       d.     AT&T Nokia cell phone

       e.     HTC Cell Phone

       f.     Electronic storage devices (thumb drive/reader, SD cards – 7 pieces)

       g.     Three thumb drive electronic storage devices
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       h.      StoreJet external hard drive SN 2TBB553221965

       i.      iPad Mini (light green and black casing)

       j.      Two DVD’s and one CD storage discs

       k.      iPad (maroon casing)

       l.      Toshiba laptop S/N 6A048450Q

       m.      Thermaltake Desktop Computer

       n.      Wells Fargo savings account number 8169842104 in the amount of
               $19,100.85 in the name Maria N Mejia-Olivar at 2613 Pierce Street,
               Omaha, NE

       2. Notice of Criminal Forfeiture was posted on an official internet government

forfeiture site, www.forfeiture.gov, for at least thirty consecutive days, beginning on July

20, 2015, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions. A Declaration of Publication was filed

herein on October 27, 2015 (Filing No. 90).

       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.

Accordingly,

       IT IS ORDERED:

       1. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

       2.   All right, title and interest in and to the following properties, held by any person

            or entity, are hereby forever barred and foreclosed:

               a. Alienware computer processing unit (desktop), SN 6360581341


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          b.     i-Phone cell phone

          c.     Samsung cell phone (Galaxy III smart phone)

          d.     AT&T Nokia cell phone

          e.     HTC Cell Phone

          f.     Electronic storage devices (thumb drive/reader, SD cards – 7 pieces)

          g.     Three thumb drive electronic storage devices

          h.     StoreJet external hard drive SN 2TBB553221965

          i.     iPad Mini (light green and black casing)

          j.     Two DVD’s and one CD storage discs

          k.     iPad (maroon casing)

          l.     Toshiba laptop S/N 6A048450Q

          m.     Thermaltake Desktop Computer

          n.     Wells Fargo savings account number 8169842104 in the amount of
                 $19,100.85 in the name Maria N Mejia-Olivar at 2613 Pierce Street,
                 Omaha, NE

    3. The $19,100.85 in United States currency be, and the same hereby is, forfeited

        to the United States of America.

    4. The United States is directed to dispose of said property in accordance with

        law.

    DATED this 29th day of October, 2015.


                                      BY THE COURT:

                                      s/Laurie Smith Camp
                                      Chief United States District Judge


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